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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

           BRITTANY DIEHL,                           :
               Movant,                               :          CRIMINAL ACTION NO.
                                                     :             1:18-CR-0477-AT
                  v.                                 :
                                                     :             CIVIL ACTION NO.
           UNITED STATES OF AMERICA,                 :              1:20-CV-1284-AT
               Respondent.                           :

                                                 ORDER

                  Presently before the Court is the Magistrate Judge’s Report and

           Recommendation (R&R) recommending that the instant 28 U.S.C. § 2255 motion to

           vacate be denied. [Doc. 38]. Petitioner has not filed objections in response to the

           R&R.

                  A district judge has broad discretion to accept, reject, or modify a magistrate

           judge’s proposed findings and recommendations. United States v. Raddatz, 447 U.S.

           667, 680 (1980). Pursuant to 28 U.S.C. § 636(b)(1), the Court reviews any portion of

           the Report and Recommendation that is the subject of a proper objection on a de novo

           basis and any non-objected portion under a “clearly erroneous” standard.

                  In her § 2255 motion, Movant contends that she received ineffective assistance

           of counsel in regard to the Court’s calculation of the loss amount and restitution. The

           Magistrate Judge concluded that Movant is not entitled to relief because she failed to

           demonstrate prejudice under Strickland v. Washington, 466 U.S. 668 (1984), because


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           Movant admitted to the loss amount, and she has failed to demonstrate that the loss

           amount reached by the Court was incorrect.

                 After a review of the record and in the absence of objections, this Court

           concludes that the Magistrate Judge is correct. Accordingly, the R&R, [Doc. 38], is

           ADOPTED as the order of this Court, and Movant’s 28 U.S.C. § 2255 motion to

           vacate, [Doc. 23], is DENIED.

                 This Court further agrees with the Magistrate Judge that Movant has not “made

           a substantial showing of the denial of a constitutional right,” 28 U.S.C. §2253(c)(2),

           and a certificate of appealability is DENIED. The Clerk is DIRECTED to close Civil

           Action Number 1:20-CV-1284-AT.

                 IT IS SO ORDERED, this 6th day of November, 2020.




                                               ___________________________________
                                               AMY TOTENBERG
                                               UNITED STATES DISTRICT JUDGE




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